            Case 1:24-cv-04817-PAE-JW            Document 24        Filed 01/13/25     Page 1 of 2




                                           THE CITY OF NEW YORK
MURIEL GOODE-TRUFANT                     LAW DEPARTMENT                                         JOSEPH ZANGRILLI
Corporation Counsel                             100 Church Street                                Phone: (212) 356-2657
                                              NEW YORK, NY 10007                                    Fax: (212) 356-3509
                                                                                                  jzangril@law.nyc.gov
                                                                                                         Senior Counsel



                                                                                        January 13, 2025
       BY ECF
       U




       Honorable Jennifer E. Willis
       United States Magistrate Judge
       United State District Court
       Southern District of New York
       40 Foley Square
       New York, NY 10007

                       Re:   Covial v. Francillion, et al.,
                             24-CV-4817 (PAE) (JW)

       Your Honor:

                       I am a Senior Counsel in the Office of Muriel Good Trufant, Corporation Counsel
       for the City of New York, and attorney for defendants City of New York, Marvin Francillon and
       Thomas Walsh in the above-referenced matter. 1 Defendants write to respectfully request that the
       Court compel Plaintiff to execute a Criminal Procedure Law § 160.50 release by a date certain and
       to hold the deadline to respond to the Complaint in abeyance until Plaintiff has complied.

                      By way of background, this Office has made extensive efforts to obtain a release
       voluntarily from Plaintiff, including mailing release forms to him on November 12 and November
       26, 2024, and sending follow-up emails on December 4 and December 19, 2024, explaining the
       legal necessity of the release. Despite these attempts, Plaintiff has not provided the required
       authorization. Defendants' response to the Complaint is due January 19, 2025.

                       The Second Circuit has clearly established that “a party otherwise protected by a §
       160.50 sealing of records can waive that protection by commencing a civil action and placing
       protected information into issue.” Green v. Montgomery, 219 F.3d 52, 57 (2d Cir. 2000). Here,
       Plaintiff has affirmatively placed sealed records at issue by incorporating video evidence into his


       1
        This case has been assigned to Assistant Corporation Counsel Jack McLaughlin, who is presently
       awaiting admission to the Eastern District of New York and is handling this matter under my
       supervision. Jack may be reached directly at (212) 356-2670 or by email at
       jmclaugh@law.nyc.gov.
      Case 1:24-cv-04817-PAE-JW           Document 24        Filed 01/13/25      Page 2 of 2




Complaint, specifically alleging that at the Seward Public Library he was arrested “for filming”
and “ha[s] video footage of [his] rights being violated.” Compl. at 7-8. Plaintiff has also attached
a certificate of disposition to his Complaint, Compl. at 11, further demonstrating his selective use
of records related to the arrest.

                The procedural posture of this case presents a strong basis for compelling execution
of the release. Defendants are procedurally constrained until the §160.50 issue is resolved. This
creates an untenable situation where potentially dispositive evidence exists but cannot be presented
to the Court, resulting in unnecessary litigation and expenditure of judicial resources.

               As a result, Defendants respectfully request that the Court compel Plaintiff to
execute a Criminal Procedure Law § 160.50 release by a date certain and to hold the deadline to
respond to the Complaint in abeyance until Plaintiff has complied.

               The Defendants thank the Court for its time and consideration of this request.

                                                         Respectfully Submitted,

                                                             Joseph Zangrilli /s/

                                                             Joseph Zangrilli
                                                             Attorney for Defendants City,
                                                                 Francillon, and Walsh
                                                             Senior Counsel
                                                             New York City Law Department
                                                             100 Church Street
                                                             New York, NY 10007
                                                             (212) 356-2657
                                                             jzangril@law.nyc.gov

Cc:    VIA U.S. MAIL
       Brandon Covial
       47 East 30th Street
       Apt. 2
       New York, NY 10016
       Plaintiff Pro Se




                                                 ii
